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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITD STATES OF AMERICA                  )
                                         )
                                         )        CASE NO. 4:21-CR-111
v.                                       )
                                         )
                                         )
RAPHAEL SMITH                            )


    GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT
  RAPHAEL SMITH’S MOTION TO SUPPRESS SEARCH WARRANT AND
                  OTHER EVIDENCE (Doc. 341)

TO THE HONORABLE COURT:

      COMES NOW the United States of America, through David H. Estes, United

States Attorney for the Southern District of Georgia, and the undersigned Assistant

United States Attorney, and before this Honorable Court, responds to Defendant’s

Motion to Suppress (Doc. 341). For the reasons set forth below, the Government

opposes the motion.

                                INTRODUCTION

      Defendant Raphael Smith (hereinafter “Defendant”) alleges in his brief that

“the search of his home and the seizure of items from it were improper, illegal, and

without probable cause” as well as statements made by Defendant. Doc. 341, p. 1. The

Defendant claims:

      1. That police conducted a warrantless search of Defendant’s “premises;” Id.

         at 4;




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      2. That the search warrant lacked probable cause and was based on evidence

          illegally obtained. Id;

      3. That the search warrant was overly-broad and non-particularized; and

      4. That Defendant’s statement to police was not knowingly and voluntarily

          made.

      For the reasons set forth below, the Defendant’s contentions are without merit

and thus the Motion to Suppress must be denied.

                     STATEMENT OF PERTINTENT FACTS

      Beginning as early as April 2019, law enforcement received information

regarding individuals associated with a drug trafficking organization operating in the

Liberty City area of Chatham County. In August of 2019, law enforcement started to

conduct an investigation into this organization and completed four [4] controlled

purchases. In February of 2020, law enforcement was granted the first Title III

intercept. All told, this investigation included court-authorized wiretaps for 21 lines.

The interceptions of wire and electronic communications reveled the individuals

listed in this indictment are involved in the DTO drug conspiracy. This monitoring

was done in conjunction with physical surveillance, use of pole camera monitoring,

federally authorized GPS tracking devices, cellular GPS tracking, etc. Additionally,

the United States Postal Inspectors Service tracked packages of suspected narcotics

originating from outside of the Southern District of Georgia that were shipped to

members of the conspiracy. Agents identified, through the controlled purchases and

interceptions of wire and electronic communications, numerous locations used by the



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DTO. Numerous search warrants for cell phone data, tracking devices, and suspected

narcotics parcels were also executed as part of the investigation.

      On June 10, 2020, CNT Agent Minton and other CNT agents initiated an

operation targeting the transport and exchange of a large shipment of cocaine

involving members of the DTO, specifically Eric Brown, Japeth Orr, Vernest

Cleveland, Antonio Graham, Nolan Smith, William Badger, and Defendant Raphael

Smith. Exh. A, p. 1. During that time, agents were utilizing active wiretaps, along

with remote and aerial surveillance to cover meetings relating to the narcotics

resupply being conducted by the DTO. Id.

      Utilizing the wire intercepts on June 8, 2020, agents had learned that Brown,

Orr, and others made arrangements with a narcotics courier for a large resupply of

cocaine. Exh. C, p. 3. It was also learned that the narcotics resupply was to be

transported by vehicle into Chatham County on June 10, 2020, where the courier

would meet with Brown and Orr. At approximately 2:00 pm on June 10, 2020, agents

observed Orr arrive at Brown’s residence, 1927 Quincy Steet, Savannah, Georgia. A

short time later, other coconspirators began to arrive at the residence. Between that

time and 4:59 pm, agents observed the men meeting and observed several apparent

exchanges between coconspirators and Brown. Id. The wire (also known to agents as

CRI 14-95) provided agents with interceptions confirming the arrival of

coconspirators and established the DTO was in contact with the narcotics courier at

that time in preparation for a meeting around 5:00 pm. Id.; Exh. C, p. 4.




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      Of particular interest to this Defendant, agents observed him meet with Orr at

approximately 3:44 pm. Exh. A, p. 3. Prior to the meeting, Orr departed Brown’s

residence in Brown’s black Chevy Tahoe and drove to area of Tuskeegee Street where

he parked. A short time later, CNT agents observed Defendant, in his white GMC

Sierra, pull alongside Orr where they witnessed Orr and Defendant make an

exchange.    Id. Orr then returned to Brown’s residence. Based on CNT agent

observations and wire intercepts, Agent Minton and Agent Boger concluded that

members of the conspiracy were meeting for the purpose of the impending narcotics

resupply. Id; Exh. C, p. 4.

      At approximately 5:12 pm, agents observed Brown depart his residence in the

black Chevy Tahoe and travel to Defendant’s residence, located at 5611 LaRoche

Avenue, Savannah, Georgia (the target residence of the search warrant). Exh. A, p.

3-4. Aerial Surveillance confirmed Brown exited the Tahoe with a black bag in his

hand and met with Defendant where an exchange took place. Id.; Exh. B, p. 1.

Surveillance also identified the white GMC driven by Defendant during the earlier

exchange at the target location. Id. Following the exchange, Brown left the target

location in his Tahoe.

      Following the exchange, CNT agents attempted to make contact with

Defendant, who was still located in the parking area outside of his residence. Upon

sight of agents, Defendant was observed discarding a black bag and walking away

from the white GMC Sierra. Exh. A, p. 4; Exh. B, p. 3-4. Defendant was then detained

by agents at approximately 5:46 pm. Exh. A, p. 4. At the same time, agents detained



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Brown and Orr, along with the black Tahoe, nearby. Brown consented to a search of

his vehicle which revealed nothing of value – confirming agents opinion that Brown

had given the black bag in his possession to Defendant. Id. The black bag was

determined to contain $54,510.00 separated into banded bundles with rubber bands.

Id.; Exh B, p. 4.

       Following his detention, Defendant was informed of his Miranda rights and

agreed to speak with Agent Minton. Exh. A, p. 4. When asked about the bag,

Defendant claimed he intended to purchase a conversion van in Miami, Florida with

it. Because there were various buildings and other structures on the property, other

agents had taken positions to monitor entry and exit points for officer safety. One

such agent informed Minton that the back door to the residence, which had been

closed, now appeared open. Id. Although Defendant stated no one else was inside

the residence, he did confirm to Agent Minton that there were two firearms inside.

Agents then conducted a brief safety sweep of the target location during which drug

related items were observed in plain view. Id.

       Later, on June 10, 2020, at approximately 8:40 pm, a search warrant was

authorized in the Magistrate Court of Chatham County to search Defendant’s

residence. Exh. C.

                               LEGAL ANALYSIS

       A. Officers contact with Defendant at 5611 LaRoche Ave, Savannah,
          Georgia was legal.

       In his motion, Defendant argues that agents entered his property without a

warrant and without exigent circumstances because “they observed no illegal conduct


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of Smith’s and they had nothing but mere suspicion to suggest that his premises

contained any evidence or contraband, much less that someone was in the act of

destroying it.” Doc 341, p. 4. The Government contends that the agents did not violate

the Fourth Amendment by seeking to make contact with Defendant in the front

parking area outside his home and that his abandonment of the black bag of money,

along with the collective knowledge of officers at that time, justified his detention.

             i.     Officers did not require a warrant to make contact with
                    Defendant.

      The Fourth Amendment, which prohibits unreasonable searches and seizures

by the government, is not implicated by entry upon private land to knock on a citizen's

door for legitimate police purposes unconnected with a search of the premises.

Coolidge v. New Hampshire, 403 U.S. 443, 466, 91 S.Ct. 2022, 29 L.Ed.2d 564 (1971).

United States v. Tobin, 923 F.2d 1506, 1511 (11th Cir.1991) (no warrant necessary

for officers to approach house to question the occupants). “Absent express orders from

the person in possession,” an officer may “walk up the steps and knock on the front

door of any man's ‘castle,’ with the honest intent of asking questions of the occupant

thereof.” Davis v. United States, 327 F.2d 301, 303 (9th Cir.1964). Thus, “[o]fficers

are allowed to knock on a residence's door or otherwise approach the residence

seeking to speak to the inhabitants just an any private citizen may.” Estate of Smith

v. Marasco, 318 F.3d 497, 519 (3d Cir.2003). Only where an officer, by means of

physical force or a show of authority, has in some way restrained the liberty of a

citizen may a court conclude that a seizure has occurred. United States v. Jordan, 635

F.3d 1181, 1185 (11th Cir. 2011).

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      Here, officers’ initial approach to the house in an attempt to make contact with

Defendant and interview him concerning the activity agents had witnessed did not

implicate the Fourth Amendment consistent with the cases cited above. At that time,

Defendant was located outside his home near his truck in a parking area more than

30 feet (estimated) away from his home. See Exh. B, p. 1-2 (depicting the location of

the white GMC Sierra in aerial still photographs). Upon sight of police, however,

Defendant moved away from the vehicle he was standing near and discarded a

grocery bag agents believed to contain money or contraband based on their earlier

surveillance throughout the day.

      Because Defendant abandoned the bag of money, there is no fourth

amendment issue at play with regard to it. No seizure of property exists under the

Fourth Amendment when a person abandons property. Hester v. United States, 265

U.S. 57, 58, 44 S.Ct. 445, 68 L.Ed. 898 (1924). To determine whether an individual

has abandoned property, the court looks to whether the individual “voluntarily

discarded, left behind, or otherwise relinquished his interest in the property in

question so that he could no longer retain a reasonable expectation of privacy with

regard to it at the time of the search.” Ramos, 12 F.3d at 1022 (internal quotation

marks omitted). Abandonment “is a question of intent which may be inferred from

acts, words and other objective facts.” Id. at 1022–23 (internal quotation marks

omitted). Defendant’s actions – discarding the bag in the road and walking away from




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it – amount to a relinquishment of his expectation of privacy in it at the time it was

seized by law enforcement.

             ii.    Defendant was not within the curtilage of his property at
                    the time agents made contact with him.

      The Fourth Amendment guarantees the “right of the people to be secure in

their persons, houses, papers, and effects, against unreasonable searches and

seizures.” The constitutional protection of people in their houses extends to the

“curtilage” of the home, which is “the area ‘immediately surrounding and associated

with the home.’ ” Collins v. Virginia, 138 S. Ct. 1663, 1670, (2018) (quoting Florida v.

Jardines, 569 U.S. 1, 6, (2013)). Subject to a few exceptions, the Fourth Amendment

prohibits law enforcement from entering a home or its curtilage to conduct a search

without a warrant. United States v. Walker, 799 F.3d 1361, 1363 (11th Cir. 2015).

      The curtilage may include the portion of a driveway that is “adjacent to the

home and ‘to which the activity of home life extends.’ ” Collins, 138 S. Ct. at 1671

(citation omitted). In Collins, for example, the Supreme Court concluded that an area

at the top of a driveway adjacent to the home was curtilage where the area was

located behind the front perimeter of the house, was enclosed on two sides by a brick

wall and on the third side by the house, had direct access to the house itself through

a door in the side of the house that formed part of the enclosure, and was not part of

the path that a visitor would take from the street to the front door of the house. Id. at

1670–71. “So long as it is curtilage, a parking patio or carport into which an officer

can see from the street is no less entitled to protection from trespass and a

warrantless search than a fully enclosed garage.” Id. at 1675.

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       Questions about whether an area is curtilage “should be resolved with

particular reference to four factors: the proximity of the area claimed to be curtilage

to the home, whether the area is included within an enclosure surrounding the home,

the nature of the uses to which the area is put, and the steps taken by the resident to

protect the area from observation by people passing by.” United States v. Dunn, 480

U.S. 294, 301, (1987). The “central component of this inquiry” is “whether the area

harbors the ‘intimate activity associated with the sanctity of a man's home and the

privacies of life’ ”; in other words, “whether the area in question is so intimately tied to

the home itself that it should be placed under the home's ‘umbrella’ of Fourth

Amendment protection.” Id. at 300, 301, (citation omitted).

       Defendant makes no argument in his brief that the area of the yard where

police initially contacted him near a parking pad was within the curtilage of his home.

Rather, he simply refers to the location as within the “property” or “premises.” As

such, the Government believes Defendant has abandoned this argument before the

court. Additionally, the Government asserts that Defendant could not establish this

area is within the curtilage at any rate, and therefore, it is not subject to protections

afforded by the Fourth Amendment’s requirements.

       The portion of the driveway where Defendant was detained and from which his

abandoned bag was seized was not part of the home's curtilage. Based on aerial

photographs and photographs of the area attached this response, this is made quite

clear. Exh. B, p. 1-4. Defendant’s property is a one-story single-family home. The

white GMC Sierra Defendant was standing next to when police attempted to make



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contact with him was parked in an area of the yard some 20-30 feet from the front of

the house on the side of the front yard adjacent to a roundabout driveway in front of

the house. It is clear from the photos that the vehicle is not parked in close proximity

to the home, and the first Dunn factor therefore does not support that area of the yard

is within the home’s curtilage.

      The remaining factors also weigh against Defendant. The driveway here is not

gated, covered, enclosed, or partly enclosed; and no effort appears to have been made

to conceal if from passersby. No portion of the driveway or parking area is located

behind the front perimeter of the house. Likewise, it does not appear that any portion

of the driveway was used as a porch or patio or otherwise served as an extension of

Defendant's home. Furthermore, the parking area would be easily viewed by the path

that visitors would naturally take to walk to the front door. Nothing here indicates

that the agents entered an area harboring the “intimate activity associated with the

sanctity of a man's home and the privacies of life” when they approached Defendant

outside his home as he stood near the parking area adjacent to the driveway.

      Because the agents did not enter the curtilage of Defendant's home when they

confronted him in his driveway, they did not need a warrant to approach and speak

to him. See, e.g., United States v. Jordan, 635 F.3d 1181, 1186 (11th Cir. 2011).

Additionally, Agents had reasonable suspicion and probable cause to believe

Defendant was committing criminal activity justifying their initial detention of

Defendant while they asked about their observations throughout their investigation

and the bag he threw down. Defendant’s nervous, evasive behavior in abruptly



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beginning to walk away and dropping the bag as he saw agents approaching was an

additional factor making the deputies’ suspicion of Defendant objectively

reasonable. Illinois v. Wardlow, 528 U.S. 119, 124, 120 S.Ct. 673, 145 L.Ed.2d 570

(2000).

      Given all the information know to them, agents had a “reasonable belief” that

Defendant “had committed or was committing a crime,” establishing probable cause

to arrest him. United States v. Mancilla-Ibarra, 947 F.3d 1343, 1349 (11th Cir. 2020)

(citation omitted).

             iii.     Officers had reasonable suspicion, as well as probable
                      cause, to believe that a controlled substance offense was
                      being committed at the time they made contact with
                      Defendant and detained him.

      Contrary to Defendant’s arguments in his brief, regardless of whether or not

Defendant was within the curtilage, agents had observed ample conduct which

establishing both reasonable articulable suspicion and probable cause related to

Defendant prior to police entry onto his property. Furthermore, their observations of

Defendant as they entered only bolstered these observations and provided

justification for his detention and provided exigent circumstances for a warrantless

entry and detention of Defendant.

      The    Supreme     Court   has defined reasonable suspicion as     “specific   and

articulable facts which, taken together with rational inferences from those

facts, reasonably warrant (an) intrusion.” Terry v. Ohio, 392 U.S. 1, 21, 88 S.Ct. 1868,

1879, 20 L.Ed.2d 889 (1968). “[T]o determine whether a suspicion [is] reasonable, the

Eleventh Circuit looks to “the collective knowledge of all officers involved.” United


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States v. Bishop, 940 F.3d 1242, 1249 (1g1th Cir. 2019) (emphasis added). Under the

Supreme Court's decision in Terry, law enforcement officers may seize a suspect for

a brief investigatory stop when the officers have a reasonable suspicion that the

suspect was involved in, or about to be involved in, criminal activity, even though

probable cause is lacking. United States v. Lewis, 674 F.3d 1298, 1303 (11th Cir.

2012).

         The Supreme Court has said that whether there is reasonable suspicion

justifying a stop must focus on the totality of the circumstances, including both

innocent and apparently suspicious circumstances. See United States v. Arvizu, 534

U.S. 266 (2002). Following Arvizu, the Eleventh Circuit has emphasized that the

court must consider all these factors together, not simply “divide and conquer” by

deciding that one or more observations are susceptible to an innocent explanation.

See United States v. Bautista-Silva, 567 F.3d 1266 (11th Cir. 2009). Reasonable

suspicion may be formed by observation of exclusively legal activity, including

unprovoked flight, and such observations may be the basis for a brief, investigatory

stop under the Fourth Amendment. See Illinois v. Wardlow, 528 U.S. 119.


         Probable cause, on the other hand, exists when the facts and circumstances

show that the suspect has committed, is committing, or is about to commit an offense.

United States v. Hamilton, 299 Fed. Appx. 878, 882 (11th Cir 2008) The “collective

knowledge” approach applies to probable cause as well. See United States v. Blasco,

702 F.2d 1315, 1324 (11th Cir. 2019) (“probable cause. . . exists where the facts and

circumstances within the collective knowledge of the law enforcement officials, of


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which they had reasonably trustworthy information, are sufficient to cause a person

of reasonable caution to believe that an offense has been or is being committed.”)

      Under the totality of the circumstances, as shown in the factual basis above,

CNT agents had ample evidence of criminal activity at the time they entered

Defendant’s property. Leading up to their contact with Defendant, agents had

already intercepted numerous wire communications concerning a large narcotics

shipment being organized by the DTO and had also conducted surveillance on

numerous meetings between identified coconspirators which included exchanges

consistent with the wire intercepts. On at least two occasions, Defendant himself

was observed meeting with coconspirators wherein exchanges took place – the final

of which occurred at his residence mere moments before police encountered him. At

the same time, agents also determined neither Orr nor Brown were in possession of

the black bag which appeared to have been provided to given to Defendant based on

aerial surveillance. Taken together, it must be said that agents had “reasonable

suspicion that the suspect was involved in, or about to be involved in, criminal

activity.” Moreover, agents had probable cause – reasonably trustworthy

information, sufficient to cause a person of reasonable caution to believe that an

offense has been or is being committed – to arrest Defendant for controlled

substance violations and to seize the bag abandoned by him on sight of police.


      At the point that police observed Defendant abandon the bag and begin to

walk away from them, they also had exigent circumstances justifying his detention

to prevent any potential loss or destruction of evidence that might be inside the


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home if Defendant were left there while agents were seeking a search warrant. The

“exigent circumstances” exception to the warrant requirement “encompasses several

common situations where resort to a magistrate for a search warrant is not feasible

or advisable, including: danger of flight or escape, loss or destruction of evidence,

risk of harm to the public or the police, mobility of a vehicle, and hot pursuit.”

United States v. Holloway, 290 F.3d 1331, 1334–35 (11th Cir. 2002) (collecting

cases). The Eleventh Circuit has stated that the need to invoke the exigent

circumstances exception to the warrant requirement is “particularly compelling in

narcotics cases” because narcotics can be so quickly destroyed. United States v.

Young, 909 F.2d 442, 446 (11th Cir.1990). The test of whether exigent

circumstances exist is an objective one. United States v. Tobin, 923 F.2d 1506, 1510

(11th Cir. 1991). “‘[T]he appropriate inquiry is whether the facts ... would lead a

reasonable, experienced agent to believe that evidence might be destroyed before a

warrant could be secured.’ ” Id. (quoting United States v. Rivera, 825 F.2d 152, 156

(7th Cir.), cert. denied, 484 U.S. 979, 108 S.Ct. 494, 98 L.Ed.2d 492 (1987)).


      Here, a reasonable, experienced agent would believe that evidence might be

destroyed before a warrant could be secured, especially in light of Defendant’s

actions upon sight of police. In addition, there was risk that Defendant might alert

other coconspirators to the presence of the ongoing police operation. As such,

exigent circumstances justified Defendant’s detention, and along with the probable

cause police already possessed for his arrest, justified entry onto his property even if

that entry had included the curtilage of the home.


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      B. The Search Warrant for 5611 LaRoche Avenue, Savannah, GA
         contains sufficient probable cause and therefore is valid.

      “The right of the people to be secure in their person, houses, papers, and effects,

against unreasonable searches and seizures, shall not be violated, and no Warrants

shall issue, but upon probable cause, supported by Oath or affirmation . . . .” U.S.

Const. amend. IV. To establish probable cause there need only be “a fair probability

that contraband or evidence of a crime will be found in a particular place.” Illinois v.

Gates, 462 U.S. 213, 238 (1983). Probable cause is a “fluid concept . . . not readily, or

even usefully, reduced to a neat set of legal rules.” Id. at 231. Rather, determining

the existence of probable cause requires “the assessment of probabilities in particular

factual contexts.” Id. A law enforcement officer’s opinion—formed by his experience,

training, and knowledge—is properly considered when assessing probable cause.

United States v. Robinson, 62 F.3d 1325, 1331 n.9 (11th Cir. 1995) (quoting United

States v. Motz, 936 F.2d 1021, 1024 (9th Cir. 1991)).

      Probable cause to search a residence requires law enforcement to establish

“some nexus between the premises and the alleged crime.” United States v. Joseph,

709 F.3d 1085, 1100 (11th Cir. 2013) (quoting United States v. Bradley, 644 F.3d

1213, 1263 (11th Cir. 2011)). An officer’s opinion, based on his experience, training,

and knowledge, that evidence of an alleged crime “is likely to be found in a suspect's

residence satisfies probable cause.” Bradley, 644 F.3d at 1263-64. The affiant “need

not allege illegal activity occurred at the home, but should establish a connection


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between the defendant and the residence to be searched and a link between the

residence and any criminal activity.” United States v. Lebowitz, 676 F.3d 1000, 1011

(11th Cir. 2012) (quoting United States v. Martin, 297 F.3d 1308, 1312 (11th Cir.

2002)). The Eleventh Circuit Court of Appeals has noted that:

      [t]he justification for allowing a search of a person's residence when that
      person is suspected of criminal activity is the common-sense realization
      that one tends to conceal fruits and instrumentalities of a crime in a
      place to which easy access may be had and in which privacy is
      nevertheless maintained. In normal situations, few places are more
      convenient than one's residence for use in planning and hiding fruits of
      a crime.
United States v. Kapordelis, 569 F.3d 1291, 1310 (11th Cir. 2009).

      In this case, the affidavit contained sufficient probable cause establishing a

connection between the residence and evidence of the alleged crime. (The Affidavit in

support of the search of 5611 LaRoche, Savannah, Georgia is attached hereto as

Exhibit C). The affidavit contains detailed information provided by CRI 14-95 which

was corroborated by law enforcement along with details of the agents’ independent

investigation. Exh. C, p. 3-6. Furthermore, agents were aware that CR 14-95 was

actually a series of Title III wiretaps the court authorized during this investigation.

      If an informant is mentioned in the affidavit, the affidavit must also

demonstrate the informant's “veracity” and “basis of knowledge.” (Martin, 297 F.3d

1308, 1314. Citing Illinois v. Gates, 462 U.S. 213, 238, 103 S.Ct. 2317, 76 L.Ed.2d 527

(1983).) In the case at hand, the affidavit details that “CRI 14-95 is not a convicted

felon, is not on probation or parole, has no pending charges, and is receiving monetary

compensation. CRI 14-95 has provided information in over seven investigations,

leading to over a dozen felony arrests and convictions, of securing several search


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warrants, seizures of over a kilogram of cocaine, multiple pounds of marijuana, over

an ounce of heroin, and numerous firearms. Additionally, your Affiant has provided

instances herein where the information and intelligence being provided by CRI 14-95

has been independently validated through alternative means and sources.” Exh. A,

p. 4. Accordingly, the magistrate was made aware that Agent Boger believed CRI 14-

95 to have provided credible information on which the magistrate could rely.

      Furthermore, “[w]hen there is sufficient independent corroboration of an

informant's information, there is no need to establish the veracity of the

informant.” (Id at 1314. Citing United States v. Danhauer, 229 F.3d 1002, 1006 (10th

Cir.2000).) Defendant does not challenge either the veracity of CRI 14-95 or the

corroboration provided by agents in support of probable cause, but the Government

provides the above information establishing law enforcements belief in CRI 14-95’s

veracity as it is relevant to the determination of probable cause as set forth in the

four corners of the affidavit.

      In the affidavit, Agent Boger provided a detailed description of events relating

drug trafficking activity conducted by the DTO under investigation which took place

on June 10, 2020. The affidavit begins with the description of a significant resupply

of cocaine arranged by codefendants Brown, Orr, and other members of the DTO.

Utilizing CRI 14-95 on June 8, 2020, Agents learned that Brown, Orr, and others

made arrangements with a narcotics courier for a large resupply of cocaine. Exh. C,

p. 3. It was also learned that the narcotics resupply was to be transported by vehicle




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into Chatham County on June 10, 2020, where the courier would meet with Brown

and Orr. Id.

      Consistent with what agents had learned from CRI 14-95, on June 10, 2020 at

approximately 11:00 am, agents observed Brown as he traveled North on I-95 to his

residence at 1927 Quincy Street, Savannah, Georgia. Exh. C, p. 4. Agents also began

surveillance on Orr that morning, and observed Orr arrive at Brown’s residence

around 2:00 pm.     At approximately 2:30 pm, a white Chevy Tahoe driven by

Defendant arrived at the residence. Id. Utilizing CRI 14-95, agents learned at

approximately 3:15 pm that the men were in communication with the narcotics

courier and still intended to meet with him around 5:00 pm. These communications

were occurring over several phones utilized by members of the conspiracy to facilitate

drug transactions. Agent Boger reports in the affidavit that he personally verified

these phone numbers. Id.

      At approximately 4:08 pm, Smith left Brown’s residence. Another conspirator,

Graham, then arrived at the residence and appeared to be waiting outside in his

vehicle. At approximately 4:30 pm, another individual driving a Nissan Altima,

Badger, arrived at the location and parked alongside Graham. Graham then exited

his vehicle and leaned into the Altima where agents observed an interaction. Brown

then exited his residence, leaned into the Altima momentarily, and then walked away

with Graham toward his residence. Id.

      A few moments later, agents observed codefendant Cleveland arrived and met

with Brown at the residence. As they met, Cleveland was observed retrieving a large



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book-bag from the front passenger compartment of his vehicle before entering

Brown’s residence. Shortly thereafter, Cleveland exited without the bag and left the

area. At around 4:59 pm, agents utilized CRI 14-95 to learn that Graham was meeting

with the source of supply to inspect the quality of the cocaine. Ten minutes later, at

5:10 pm, CRI 14-95 provided that Graham had arrived at Brown’s residence. Agents

observed Brown approach Graham’s vehicle and lean in briefly. Thereafter, Graham

left the area. Brown then also left in a black Chevy Tahoe. Id.

          At 5:45 pm, agents observed Brown’s Tahoe backed up to another vehicle 1 with

trunks open near 5611 LaRoche Avenue, Savannah, Georgia. Shortly after, the

vehicle traveled toward DeRenne Avenue.          Agents then made contact with an

individual 2 at 5611 LaRoche Avenue and recovered a large sum of money in a bag.

Around the same time, at 6:01 pm, agents utilizing CRI 14-95 determined Graham

believed he had obtained good quality cocaine. Id. They were also able to conduct

open air sniffs of two vehicles, Badger’s Nissan Altima, and the GMC Sierra. Exh. C,

p. 5.

          Based on the foregoing, Agent Boger then summarized his opinions regarding

probable cause:

          Your Affiant noted that various members of the narcotics conspiracy arrived
          and appeared to meet with Brown at 1927 Quincy Street; prior to the scheduled
          meet time identified by CRI 14-95, when Brown and Orr were expected to meet
          with the suspected narcotics courier and conduct the narcotics deal.
          Furthermore, Your Affiant has illustrated that Brown left the 1927 Quincy
          Street address, after which he was observed making an apparent transaction
          with another individual at the 5611 LaRoche Avenue address, which when
          coupled with the recovery of the large sum of U.S. Currency, and the K9’s

1
    Defendant’s white GMC Sierra.
2
    Defendant.

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      positive alert indicates to Your Affiant that the target address is directly
      involved in the distribution of controlled substances. In Your Affiant’s training
      and experience in the investigation of narcotics traffickers, the above observed
      events involving the known and identified members of the DTO, are consistent
      with what is known to be narcotics related transactions. Specifically, Your
      Affiant believes that members of the narcotics conspiracy were likely meeting
      with Brown as it related to the impending narcotics supply involving the
      suspected courier identified by CRI 14-95; which could involve the exchange of
      funds for anticipated narcotics supplies. Exh C, p. 5.

Agent Boger also described his experience related to narcotics traffickers use of

cellphones, retention of drug related items including packaging material, scales,

ledgers, and the like; and possession of firearms. Exh C, p. 5-6.

      Throughout the search warrant affidavit, Agent Boger provided detailed

information learned from CRI 14-95 during the course of this investigation. That

information was corroborated by agents via some form of surveillance whether

physical or electronic, as detailed more specifically above. Agent Boger then avers in

the warrant that in his knowledge, training and experience, drug traffickers often

keep drugs and drug related items in their homes, including firearms. When the facts

of the affidavit are read and compared to the law as noted above, specifically United

States v. Kapordelis, 569 F.3d 1291, 1310 (11th Cir. 2009), it is clear that the affidavit

provided sufficient legal probable cause for the issuance of the search warrant for

5611 LaRoche Avenue, Savannah, GA.


          i.     Even If Actual Probable Cause Did Not Exist, The Affidavit
                 Had Indicia Of Probable Cause Sufficient To Justify A
                 Reasonable Belief In The Validity Of The Search Warrant.

      The good faith exception to the Fourth Amendment’s exclusionary rule “stands

for the principle that courts generally should not render inadmissible evidence


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obtained by police officers acting in reasonable reliance upon a search warrant that

is ultimately found to be unsupported by probable cause.” United States v. Martin,

297 F.3d 1308, 1313 (11th Cir. 2002), citing United States v. Leon, 468 U.S. 897, 922,

104 S.Ct. 3405 (1984). “The purpose of the exclusionary rule is to deter unlawful police

misconduct; therefore, when officers engage in ‘objectively reasonable law

enforcement activity’ and have acted in good faith when obtaining a search warrant

from a judge or magistrate, the Leon good faith exception applies.” Id. “The Leon

good faith exception requires suppression ‘only if the officers were dishonest or

reckless in preparing their affidavit or could not have harbored an objectively

reasonable belief in the existence of probable cause.’” Id. (citation omitted).

      Under Leon, “searches pursuant to a warrant will rarely require any deep

inquiry into reasonableness, for a warrant issued by a magistrate normally suffices

to establish that a law enforcement officer has acted in good faith in conducting the

search.” 468 U.S. at 922, 104 S. Ct. at 3420 (quotation and citation omitted).

However, “in some circumstances the officer will have no reasonable grounds for

believing that the warrant was properly issued.” Id. at 922-23, 104 S. Ct. at 3420.

Leon’s good faith exception, therefore, does not apply to the following situations: (1)

where the magistrate or judge in issuing a warrant was misled by information in an

affidavit that the affiant knew was false or would have known was false except for

his reckless disregard of the truth; (2) where the issuing magistrate wholly

abandoned his judicial role; (3) where the affidavit supporting the warrant is so

lacking in indicia of probable cause as to render official belief in its existence entirely



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unreasonable; and (4) where, depending upon the circumstances of the particular

case, a warrant is so facially deficient ­ i.e., in failing to particularize the place to be

searched or the things to be seized - that the executing officers cannot reasonably

presume it to be valid. Martin, 297 F.3d at 1313.

       Defendant makes no assertion in his brief that the magistrate judge was

mislead by information known by the affiant to be false or used in reckless disregard

for the truth, that the magistrate wholly abandoned his judicial role, that the warrant

was so lacking in probable cause that reliance on it was unreasonable, or that the

warrant is deficient on its face. In fact, Defendant does not argue anywhere in his

brief that the good faith exception should not apply. As such, the government believes

that, even if the court determined that probable cause was lacking in this case, the

evidence should be admissible under Leon.

       Regardless, even if actual probable cause did not exist, the affidavit had indicia

of probable cause sufficient to justify a reasonable belief in the validity of the search

warrant. The Government has detailed at length above the information provided by

CRI 14-95 along with corroboration and independent investigation conducted by

agents. Therefore, the Government will not belabor all the same arguments here.

The Government maintains that when the facts are read together it is clear that the

affidavit provided sufficient legal probable cause for the issuance of the search

warrant for 5611 LaRoche Avenue, Savannah, GA.

       However, even if the affidavit suffered from deficiencies, it was not entirely

unreasonable for the officers to believe that the information therein supported a



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finding of probable cause. “[T]he affidavit should establish a connection between the

defendant and the residence to be searched and a link between the residence and any

criminal activity.” (Martin at 1314. See also Gates, 462 U.S. at 234-36, 103 S. Ct. at

2330-31 (recognizing affidavits “are normally drafted by nonlawyers in the midst and

haste of a criminal investigation. Technical requirements of elaborate specificity once

exacted under common law pleading have no proper place in this area.”).

      The specific facts in the affidavit tied the Defendant to the target location and

subject vehicle. Furthermore, CRI 14-95, which agents knew to be the wires, provided

detailed and credible information regarding repeated and specific drug distribution

activity during this investigation. Based on that information as well as agents

independent investigation, a reasonable officer would believe the affidavit

established a fair probability that evidence of the crime would be found in the place

to be searched.

      C. The Search Warrant was not overly-broad and non-particularized

      The warrant must “particularly describe[e] the place to be searched, and the

persons or things to be seized.” U.S. Const. amend. IV. “A description is sufficiently

particular when it enables the searcher to reasonably ascertain and identify the

things authorized to be seized.” United States v. Wuagneux, 683 F.2d 1343, 1348 (11th

Cir. 1982) (citing United States v. Cook, 657 F.2d 730, 733 (5th Cir. 1981)). In

addition, “a description is valid if it is as specific as the circumstances and the nature

of the activity under investigation permit.” United States v. Blum, 753 F.2d 999, 1001

(11th Cir. 1985) (citing Wuagneux, 683 F.3d at 1349).



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      As it relates to general warrants, the United States Supreme Court has made

it clear that, “General warrants of course, are prohibited by the Fourth Amendment.”

Andresen v. Maryland, 427 U.S. 463, 480, 96 S. Ct. 2737, 2748, 49 L. Ed. 2d 627

(1976). The Court goes on to say, “[t]his requirement ‘makes general searches . . .

impossible and prevents the seizure of one thing under a warrant describing another.

As to what is to be taken, nothing is left to the discretion of the officer executing the

warrant.’ Stanford v. Texas, 379 U.S. 476, 485, 85 S.Ct. 506, 512, 13 L.Ed.2d 431

(1965), quoting Marron v. United States, 275 U.S., at 196, 48 S.Ct. at 76.” Id.


      Contrary to Defendant’s argument, the application and warrants describe with

sufficient particularity the items to seized. Defendant claims the warrant “failed to

provide any specific guidelines for identifying and separating items to be sought from

those outside the scope of the warrant, [and] the warrants encouraged wholesale

seizure of items.” Doc. 341, p. 5. However, the search warrant set out twelve (12)

specifically enumerated items (Exh. C, p. 10-11) described in such a particular way

to “enable[] the searcher to reasonably ascertain and identify the things authorized

to be seized.” Wuagneux, 683 F.2d at 1348. The search warrant at issue here is hardly

“the ‘general warrant’ abhorred by the colonists, and the problem is not that of

intrusion per se, but of a general, exploratory rummaging in a person's belongings.

Coolidge v. New Hampshire, 403 U.S. 443, 467, 91 S. Ct. 2022, 2038, 29 L. Ed. 2d 564

(1971), holding modified by Horton v. California, 496 U.S. 128, 110 S. Ct. 2301, 110

L. Ed. 2d 112 (1990).




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      For these reasons, the Government contends that Defendant’s motion should

be denied because his argument concerning particularity is an insufficient basis for

suppression.


      D. Defendant’s statement was knowing and voluntary


      Prior to Defendant’s statement to police, he was advised of his rights by Agent

Minton. As such, his statement was knowingly and voluntarily made pursuant to

Miranda and its progeny. In addition, the Government will present Agent Minton

for testimony before the court at a Jackson v. Denno hearing whenever such is

scheduled.




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                                    CONCLUSION

      For the foregoing reasons, the Government moves this Court to deny

Defendant’s motion to suppress the search warrant and other evidence (Doc. 341).

      This 1st day of April 2022.

                                       Sincerely,

                                       DAVID H. ESTES
                                       UNITED STATES ATTORNEY

                                       /s/Frank M. Pennington, II
                                       Frank M. Pennington, II
                                       Assistant United States Attorney
                                       Georgia Bar Number 141419



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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITD STATES OF AMERICA                 )
                                        )
                                        )         CASE NO. 4:21-CR-111
v.                                      )
                                        )
                                        )
RAPHAEL SMITH                           )

      CERTIFICATE OF SERVICE OF GOVERNMENT’S RESPONSE IN
      OPPOSITION TO DEFENDANT RAPHAEL SMITH’S MOTION TO
     SUPPRESS SEARCH WARRANT AND OTHER EVIDENCE (Doc. 341)

       The undersigned AUSA certifies that a copy of this response has been filed

electronically on the ECF system and therefore served on the Defendant.

This 1st day of April 2022.

                                     Sincerely,

                                     DAVID H. ESTES
                                     UNITED STATES ATTORNEY

                                     /s/Frank M. Pennington, II
                                     Frank M. Pennington, II
                                     Assistant United States Attorney
                                     Georgia Bar Number 141419



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